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              EXHIBIT D
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                          Western District of __________
                                                       __________             Texas

       In re CASSAVA SCIENCES, INC. SEC. LITIG.
                                                                               )
                               Plaintiff                                       )
                                  v.                                           )       Civil Action No. 1 :21-cv-00751-DAE
                 This Document Relates To:                                     )
                       ALL ACTIONS                                             )
                              Defendant                                        )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                       Quanterix Corporation c/o The Corporation Trust Company
                                                 1209 Orange Street, Wilmington, DE 19801
                                                       (Name of person to whom this subpoena is directed)

        Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached Schedule A.



 Place: BLUE MARBLE LOGISTICS                                                           Date and Time:
           800 King Street, Suite 102
                                                                                                             07/13/2023 9:00 am
           Wilmington, DE 19801

     0 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        06/13/2023

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)    Lead Plaintiff
Mohamman Bozorgi and Additional Plaintiff Ken Calderone                 , who issues or requests this subpoena, are:
Megan A. Rossi, 655 W. Broadway, Suite 1900, San Diego, CA 92101; mrossi@rgrdlaw.com, 619/231-1058

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1 :21-cv-00751-DAE

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            0 I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            0 I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                      .

My fees are $                                      for travel and $                             for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                             SCHEDULE A
                                         (Quanterix Corporation)

I.       DEFINITIONS

         Unless stated otherwise, the terms set forth below are defined as follows:

         1.         “Action” refers to the lawsuit docketed under the caption In re Cassava Scis., Inc.

Sec. Litig., No. 1:21-cv-00751-DAE.

         2.         “All,” “any,” and “each” shall each be construed as encompassing any and all.

         3.         The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of the discovery request all responses that might

otherwise be construed to be outside of its scope.

         4.         “Cassava” or the “Company” refers to Cassava Sciences, Inc., any of its direct or

indirect subsidiaries, divisions or affiliates (foreign and domestic), predecessors, successors, present

and former officers, directors, employees, agents, accountants and advisors, and all other persons

acting or purporting to act on its behalf.

         5.         “Citizen Petition” refers to the Citizen Petition dated August 18, 2021, and filed with

the United States Food and Drug Administration on or about that time by attorneys at Labaton

Sucharow LLP, which raised concerns on behalf of Drs. David S. Bredt and Geoffrey Pitt regarding

Simufilam. The Citizen Petition includes each supplement to the Citizen Petition, including those

dated on or about August 30, 2021, September 9, 2021, November 17, 2021, and December 8, 2021.

         6.         “Communication” or “communications” means emails, text messages, letters, chat

logs, recordings, or any other transmittal of information (in the form of facts, ideas, inquiries, or

otherwise), including any attachments thereto.

         7.         “Concerning” means in connection with, referring to, relating to, describing,

evidencing, reflecting, mentioning, supporting, contravening, embodying, touching upon, assessing,

stating, recording, summarizing, or constituting.
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         8.         “Defendants” refers to Cassava Sciences, Inc., Remi Barbier, Lindsay Burns, and Eric

J. Schoen.

         9.         “Document” or “documents” shall have the broadest meaning permissible under

Federal Rule of Civil Procedure 34(a)(1)(A) and shall include, but not be limited to, any and all

communications, writings, drawing, graphs, charts, photographs, sound recordings, images, other

data or data compilations, and electronically stored information. A draft or non-identical copy is a

separate document within the meaning of this term.

         10.        “Dr. Wang” refers to Dr. Hoau-Yan Wang, Ph.D. and any employee, agent or person

acting on his behalf.

         11.        “Electronically stored information” or “ESI” refers to any original and any non-

identical copies (whether non-identical because of notes made on copies or attached comments,

annotations, marks, transmission notations, or highlighting of any kind), mechanical, facsimile,

electronic, magnetic, digital or other programs (whether private, commercial, or work-in-progress),

programming notes or instructions, activity listings of electronic mail receipts or transmittals, output

resulting from the use of any software program, including any word processing documents,

spreadsheets, database files, charts, graphs and outlines, electronic mail or “email,” operating

systems, source code of all types, programming languages, linkers and compilers, peripheral drives,

PDF files, PRF files, batch files, ASCII files, crosswalks, code keys, pull down tables, logs, file

layouts or any miscellaneous files or file fragments, regardless of the media on which they reside and

regardless of whether said electronic data consists of an active file, backup file, deleted file, or file

fragment. “Electronic data” also includes, without limitation, any items stored on computer memory

or memories, hard drives, zip drives, CD-ROM discs or in any other vehicle for electronic or digital

data storage or transmittal, files, folder tabs or containers and labels appended to or associated with

any physical storage device associated with each original and each copy.

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         12.        “Employee” refers to any person who at any time acted or purported to act on your

behalf or under your supervision, direction or control, including, without limitation, past and current

directors, officers, principals, partners, executives, analysts, investment bankers, consultants,

advisors, representatives, agents, trustees, independent contractors, assigns, businesses or similar

persons or entities.

         13.        “Individual Defendants” refers to Remi Barbier, Lindsay Burns, and Eric J. Schoen.

         14.        “Meeting” refers to the contemporaneous presence of any natural persons (including

by telephone or by any other electronic means) for any purpose, whether such presence was by

chance or prearranged, and whether the meeting was formal or informal, or occurred in connection

with some other activity.

         15.        “Person” or “persons” means any natural person or any legal entity, including,

without limitation, any business, corporation, partnership or governmental entity or association.

         16.        “Quanterix,” “you,” or “your” means Quanterix Corporation, and any of its divisions

or affiliates, predecessors, successors, present and former officers, directors, executives, employees,

agents, attorneys or advisors, and all other persons acting or purporting to act on Quanterix’s behalf.

         17.        “SavaDx” refers to Cassava’s secondary investigational diagnostic product candidate,

a blood-based biomarker/diagnostic to detect Alzheimer’s disease.

         18.        “Simufilam” or “PTI-125” refers to Cassava’s lead product candidate, a small

molecule drug for the treatment of Alzheimer’s or other neurodegenerative diseases.

         19.        “Source Data” means the actual data acquired during the experimental process. For

blots, this constitutes the actual piece of X-ray film, or, if the data were acquired digitally, the

original scan of the complete blot in the file format in which it was originally saved, in the

proprietary format generated by the imaging system. For micrographs, the Source Data constitute an

image file containing the complete microscope field as it was originally saved by the imaging system

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in the proprietary format generated by the imaging system. Images that have been cropped and/or

imported into another application to compose a labelled figure do not constitute Source Data.

Source Data for digital images also includes the metadata to the Source Data, including logging data

documenting changes made to the digital image files.

II.      INSTRUCTIONS

         1.         In responding to these requests, you shall produce responsive documents and

electronic data that are in your possession, custody, or control, or in the possession, custody, or

control of your predecessors, successors, parents, subsidiaries, divisions, or affiliates or any of your

respective partners, directors, officers, managing agents, agents, employees, attorneys, accountants,

or other representatives. A document or electronic data is within your control if you have the right to

secure the document or electronic data or a copy of the document or electronic data from another

person having possession or custody of the document or electronic data.

         2.         You are required to produce for inspection and copying original documents and

electronic data as they are kept in the usual course of business in their original folders, binders,

covers, and containers or facsimile thereof, or, with respect to electronic data, in their native format

as explained in more detail below. In the case of documents that were already produced pursuant to

federal, state, or local governmental or administrative investigations, those documents may be

produced in the same manner as they were previously produced by you. If the original is not in your

custody, you are required to provide a copy thereof, and all non-identical copies which differ from

the original or from the other copies produced for any reason, including, without limitation, the

making of notes thereon.

         3.         Your response must either state that inspection and related activities will be permitted

as requested, or state with specificity the grounds for objecting to the request, including the reasons

for the objection. Where you are objecting to a request, you must state whether any responsive

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materials are being withheld on the basis of that objection. Where you are objecting to only part of

the request, you must state with specificity which part of the request you are objecting to, and permit

inspection of the rest.

         4.         If a document, electronic data, or information is withheld pursuant to a claim of

privilege, as to each such withheld document or information state the following:

                    (a)    The privilege claimed;

                    (b)    A precise statement of the facts upon which said claim of privilege is based,

including sufficient information to evaluate the nature or validity of the privilege claimed;

                    (c)    The following information describing each purportedly privileged document:

(i) the name(s) of the author(s); (ii) the name(s) of the sender(s); (iii) the name(s) of the person(s) to

whom the document and copies, if any, were sent; (iv) the job title of each individual identified in

(i), (ii), and (iii) above; (v) a brief description of the nature and subject matter of the document; and

(vi) the nature of the privilege; and

                    (d)    A precise description of the place where each copy of that document is kept,

including the title or description of the file in which said document may be found and the location of

such file.

         5.         If a portion of any document or electronic data responsive to these requests is

withheld under claim of privilege, any non-privileged portion of such document must be produced

with the portion claimed to be privileged redacted.

         6.         You are to produce each document requested herein in its entirety, with attachments

and enclosures without deletion or excision (except as qualified by Instruction Nos. 4 and 5 above)

regardless of whether you consider the entire document to be relevant or responsive to the requests.

All pages now stapled or fastened together should be produced, stapled or fastened together, and

each document that you cannot legibly copy should be produced in its original form. Documents not

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otherwise responsive to any of the discovery requests herein must be produced if such documents

mention, discuss, refer to, or explain the documents which are called for by these requests, or if such

documents are attached to documents called for by these requests and constitute routing slips,

transmittal memoranda or letters, comments, evaluations, or similar materials. Whenever a

document or group of documents is removed from a file folder, binder, file drawer, file box,

notebook, or other cover or container, a copy of the label of such cover or other container must be

attached to the document or group of documents.

         7.         Whenever a document or electronic data is not produced in full or is produced in

redacted form, so indicate on the document and state with particularity the reason or reasons it is not

being produced in full, and describe to the best of your knowledge, information and belief, and with

as much particularity as possible, those portions of the document which are not being produced.

         8.         If a document responsive to these requests was at any time in your possession,

custody, or control, but is no longer available for production, as to each such document, state the

following information:

                    (a)    Whether the document is missing or lost;

                    (b)    Whether it has been destroyed;

                    (c)    Whether the document has been transferred or delivered to another person

and, if so, at whose request;

                    (d)    Whether the document has been otherwise disposed of; and

                    (e)    A precise statement of the circumstances surrounding the disposition of the

document and the date of its disposition.

         9.         If in responding to these requests you claim any ambiguity in interpreting a request or

a definition or instruction applicable thereto, such a claim shall not be utilized by you as a basis for



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refusing to produce responsive documents, but set forth as part of your response to the language

deemed to be ambiguous and the interpretation chosen or used in responding to the request.

         10.        Whenever necessary to bring within the scope of a request a response that might

otherwise be construed to be outside of its scope:

                    (a)    The use of a verb in any tense shall be construed as the use of the verb in all

other tenses;

                    (b)    The use of the word in its singular form shall be deemed to include within its

use the plural form as well, and vice versa;

                    (c)    The use of the words “any,” or “all” shall be construed to include within their

use “any,” “some,” “each,” or “all”; and

                    (d)    The words “and” and “or” shall be construed either conjunctively or

disjunctively as necessary.

         11.        For each request to which you are providing documents, your response must identify

the particular responsive documents by Bates number.

         12.        In responding to these Requests, you shall produce all responsive documents

available at the time of production and you shall supplement your responses as required by Rule

26(e) of the Federal Rules of Civil Procedure.

         13.        In accordance with Federal Rule of Civil Procedure 26(b)(5), if any responsive

documents are withheld on a claim of privilege, that claim must be expressly made and any withheld

materials described in such a manner that, without revealing the information itself privileged or

protected, will enable other parties to assess the claim.

III.     PRODUCTION OF HARD COPY DOCUMENTS – FORMAT

         Hard-copy documents should be scanned as single-page, Group IV, 300 DPI TIFF images

with an .opt image cross-reference file and a delimited database load file (i.e., .dat). The database

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load file should contain the following fields: “BEGNO,” “ENDNO,” “PAGES,” “VOLUME,” and

“CUSTODIAN.” The documents should be logically unitized (i.e., distinct documents shall not be

merged into a single record, and single documents shall not be split into multiple records) and be

produced in the order in which they are kept in the usual course of business. If an original document

contains color, and the color is necessary to understand the meaning or content of the document, the

document shall be produced as single-page, 300 DPI JPG images with JPG compression and a high

quality setting as to not degrade the original image. Multi-page OCR text for each document should

also be provided. The OCR software shall maximize text quality. Settings such as “auto-skewing”

and “auto-rotation” should be turned on during the OCR process.

IV.      PRODUCTION OF ESI

         1.         Format: Except where otherwise noted in this section, electronically stored

information (“ESI”) should be produced in single-page, black and white, TIFF Group IV, 300 DPI

TIFF images. Spreadsheet and presentation type files, audio and video files, photo or graphic

images, and documents with tracked changes reflected in the metadata should be produced in native

format. Short message communications (e.g., text messages, WhatsApp, Slack, iMessage, Teams,

G-Chat, Bloomberg, etc.) will be produced in RSMF with all available metadata and attachments.

Except for messages that contain privileged content, the complete communication will be produced,

separated into 24-hour increments. To the extent RSMF cannot be provided, the parties shall meet

and confer on the appropriate metadata fields and format of production. If an original document

being produced in image format contains color, the document should be produced as single-page,

300 DPI JPG images with JPG compression and a high quality setting as to not degrade the original

image. Parties are under no obligation to enhance an image beyond how it was kept in the usual

course of business. TIFFs/JPGs should show any and all text, hidden content, and images that would

be visible to the reader using the native software that created the document. For example,

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TIFFs/JPGs of email messages should include the BCC line, and documents should display

comments and hidden content.

         2.         Format – Native Files: If a document is produced in RSMF or in native format, a

single-page, Bates stamped image slip sheet stating the document has been produced in native format

should also be provided, with the exception of PowerPoint presentations. PowerPoint documents

should be produced in native format along with single-page, 300 DPI TIFF/JPG images which

display both the slide and speaker’s notes. Each native file should be named according to the Bates

number it has been assigned, and should be linked directly to its corresponding record in the load file

using the NATIVELINK field. To the extent that either party believes that specific documents or

classes of documents, not already identified within this protocol, should be produced in native

format, the parties should meet and confer in good faith.

         3.         De-Duplication: Each party shall remove exact duplicate documents based on MD5 or

SHA-1 hash values, at the family level. Attachments should not be eliminated as duplicates for

purposes of production, unless the parent email and all attachments are also duplicates. An email

that includes content in the BCC or other blind copy field shall not be treated as a duplicate of an

email that does not include content in those fields, even if all remaining content in the email is

identical. Removal of near-duplicate documents and email thread suppression is not acceptable. De-

duplication should be done across the entire collection (global de-duplication) and the

CUSTODIAN-ALL field should list each custodian, separated by a semicolon, who was a source of

that document and the FILEPATH-DUP field will list each file path, separated by a semicolon, that

was a source of that document. Should the CUSTODIAN-ALL or FILEPATH-DUP metadata fields

produced become outdated due to rolling productions, an overlay file providing all the custodians

and file paths for the affected documents should be produced prior to substantial completion of the

document production.

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         4.         Technology-Assisted Review: Predictive coding/technology-assisted review shall not

be used for the purpose of culling the documents to be reviewed or produced without notifying the

requesting party prior to use and with ample time to meet and confer in good faith regarding a

mutually agreeable protocol for the use of such technologies.

         5.         Metadata: All ESI shall be produced with a delimited, database load file that contains

the metadata fields listed in Table 1, attached hereto. The metadata produced should have the

correct encoding to enable preservation of the documents’ original language. For ESI other than

email and e-docs that do not conform to the metadata listed in Table 1, such as text messages, Instant

Bloomberg, iMessage, Google Chat, Yammer, Slack, Google Docs, etc., the parties should meet and

confer as to the appropriate metadata fields to be produced.

         6.         Embedded Objects: Embedded files shall be produced as attachments to the document

that contained the embedded file, with the parent/child relationship preserved. The embedded files

should be marked with a “YES” in the load file under the “Is Embedded” metadata field. The parties

agree logos need not be extracted as separate documents as long as they are displayed in the parent

document.

         7.         Attachments: If any part of an email or its attachments is responsive, the entire email

and attachments should be produced, except any attachments that must be withheld or redacted on

the basis of privilege. The parties should meet and confer about whether there is an appropriate

basis for withholding a family document for any reason other than attorney-client or work product

privilege. The attachments should be produced sequentially after the parent email. The parties shall

use their best efforts to collect and produce point-in-time documents that are links in documents and

emails, including, but not limited to, Google G Suite, Microsoft 365, etc. Documents extracted from

links shall be populated with the BEGATTACH and ENDATTACH metadata fields to show the



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family relationship. If documents cannot be extracted from links at the time of collection, the Parties

agree to promptly meet and confer to discuss alternative methods of collection and production.

         8.         Compressed File Types: Compressed file types (e.g., .ZIP, .RAR, .CAB, .Z) should

be decompressed so that the lowest level document or file is extracted.

         9.         Structured Data: To the extent a response to discovery requires production of

electronic information stored in a database, the parties should meet and confer regarding methods of

production. Parties should consider whether all relevant information may be provided by querying

the database for discoverable information and generating a report in a reasonably usable and

exportable electronic file.

         10.        Exception Report: The producing party shall compile an exception report

enumerating any unprocessed or unprocessable documents, their file type, and the file location.

         11.        Encryption: To maximize the security of information in transit, any media on which

documents are produced may be encrypted. In such cases, the producing party shall transmit the

encryption key or password to the receiving party, under separate cover, contemporaneously with

sending the encrypted media.

         12.        Redactions: If documents that the parties have agreed to produce in native format

need to be redacted, the parties should implement redactions while ensuring that proper formatting

and usability are maintained. Spreadsheets requiring redaction should be redacted using native

redaction software and produced in native format.

V.       RELEVANT TIME PERIOD

         Unless otherwise specifically indicated, the requests herein refer to the period from January

1, 2020 to the present (the “Relevant Period”), and shall include documents and information that

relate to such period, even if dated, prepared, generated, used, published or received outside of the

Relevant Period. If a document prepared before this period is necessary for a correct or complete

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understanding of any document covered by a request, you must produce the earlier document as

well. If any document is undated and the date of its preparation cannot be determined, the document

shall be produced if otherwise responsive to the request.

VI.      DOCUMENTS REQUESTED

REQUEST NO. 1:

         Quanterix’s Source Data retention policies concerning the collection, preservation, storage,

custody, control, maintenance, destruction, or alteration of Source Data related to Simufilam,

SavaDx, or Cassava. This request is without limitation by the Relevant Period.

REQUEST NO. 2:

         All documents concerning the destruction of any Source Data, and whether or not their

destruction complied with Quanterix’s Source Data retention policies, related to Simufilam, SavaDx,

or Cassava. This request is without limitation by the Relevant Period.

REQUEST NO. 3:

         All documents concerning the results of Cassava’s September 2019 Phase 2b clinical data

regarding Simufilam.

REQUEST NO. 4:

         All documents, including drafts, relating to Cassava that were publicly disseminated,

including, but not limited to:

                    (a)   all press releases, including, but not limited to, your August 27, 2021 press

release and Cassava’s August 27, 2021 press release;

                    (b)   all recordings, transcripts, or summaries of electronic media broadcasts

concerning Cassava; and

                    (c)   all print media clippings and reproductions concerning Cassava.



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REQUEST NO. 5:

         All documents, including drafts, concerning Cassava’s poster entitled “SavaDx, a Novel

Plasma Biomarker to Detect Alzheimer’s Disease, Confirms Mechanism of Action of Simufilam,”

presented at the 2021 Alzheimer’s Association International Conference.

REQUEST NO. 6:

         All Source Data for the images, and data underlying the charts, in Cassava’s poster entitled

“SavaDx, a Novel Plasma Biomarker to Detect Alzheimer’s Disease, Confirms Mechanism of

Action of Simufilam,” presented at the 2021 Alzheimer’s Association International Conference,

including, but not limited to, Figure 4, Figure 5, Figure 2, and Figure 1.

REQUEST NO. 7:

         All documents and communications concerning Quanterix’s responsibilities for Cassava’s

September 2019 Phase 2b clinical data regarding Simufilam.

REQUEST NO. 8:

         All documents regarding any Internet postings by or on behalf of Quanterix concerning

Cassava, Simufilam, or SavaDx.




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                                                                      TABLE 1: METADATA FIELDS 1

            Field Name      Example / Format                                                     Description
    BEGNO                   ABC0000001 (Unique ID)                                               The Document ID number associated with the first page of a document.

    ENDNO                   ABC0000003 (Unique ID)                                               The Document ID number associated with the last page of a document.

    BEGATTACH               ABC0000001 (Unique ID Parent-Child Relationships)                    The Document ID number associated with the first page of the parent document.

    ENDATTACH               ABC0000008 (Unique ID Parent-Child Relationships)                    The Document ID number associated with the last page of the last attachment.

    VOLUME                  VOL001                                                               The name of CD, DVD, or Hard Drive.

    RECORDTYPE              Options: eMail, Attachment, Scanned Doc, eFile                       The record type of a document.

    SENTDATE                MM/DD/YYYY                                                           The date the email or calendar entry was sent.

    SENTTIME                HH:MM                                                                The time the email or calendar entry was sent.

    RECEIVEDDATE            MM/DD/YYYY                                                           The date the document was received.

    RECEIVEDTIME            HH:MM                                                                The time the document was received.

    CREATEDATE              MM/DD/YYYY                                                           The date the document was created.

    CREATETIME              HH:MM                                                                The time the document was created.

    LASTMODDATE             MM/DD/YYYY                                                           The date the document was last modified.

    LASTMODTIME             HH:MM                                                                The time the document was last modified.

    MEETING START DATE      MM/DD/YYYY                                                           Start date of calendar entry.

    MEETING START TIME      HH:MM                                                                Start time of calendar entry.

    MEETING END DATE        MM/DD/YYYY                                                           End date of calendar entry.

    MEETING END TIME        HH:MM                                                                End time of calendar entry.

    FILEPATH                i.e. /JsmithPC/Users/Jsmith/Desktop                                  The file path from the location in which the document was stored in the usual
                                                                                                 course of business. This field should be populated for both email and e-files.
    FILEPATH-DUP            i.e. /JSmith.pst/Inbox                                               The file paths from the locations in which the duplicate documents were stored in
                                 /Network Share/Accounting/…                                     the usual course of business. This field should be populated for both email and e-
                                 /TJohnsonPC/Users/TJohnson/My Documents/...                     files and separated by semicolons.
    AUTHOR                  jsmith                                                               The author of a document from extracted metadata.
    LASTEDITEDBY            jsmith                                                               The name of the last person to edit the document from extracted metadata.
    FROM                    Joe Smith <jsmith@email.com>                                         The display name and email address of the author of an email/calendar item.
                                                                                                 An email address should always be provided.

    TO                      Joe Smith <jsmith@email.com>; tjones@email.com                       The display name and email address of the recipient(s) of an email/calendar item.
                                                                                                 An email address should always be provided for every email if a recipient existed.

    CC                      Joe Smith <jsmith@email.com>; tjones@email.com                       The display name and email of the copyee(s) of an email/calendar item. An email
                                                                                                 address should always be provided for every email if a copyee existed.

    BCC                     Joe Smith <jsmith@email.com>; tjones@email.com                       The display name and email of the blind copyee(s) of an email or calendar item. An
                                                                                                 email address should always be provided for every email if a blind copyee existed.

    SUBJECT                                                                                      The subject line of the email/calendar item.

    MESSAGE TYPE            Appointment, Contact, Task, Distribution List, Message, etc.         An indication of the email system message type.


    IMPORTANCE              Normal, Low, High                                                    Email Importance Flag

    TITLE                                                                                        The extracted document title of a document.

    CUSTODIAN-ALL           Smith, Joe; Doe, Jane                                                All of the custodians of a document from which the document originated,
                                                                                                 separated by semicolons.
    SOURCE                  Computer, Mobile Phone, Email, Network Share, Database Name,         The source from which the document was collected.
                            etc.
    ATTACH COUNT            Numeric                                                              The number of attachments to a document.

    FILEEXT                 XLS                                                                  The file extension of a document.
    FILENAME                Document Name.xls                                                    The file name of a document.

    FILESIZE                Numeric                                                              The file size of a document (including embedded attachments).

    IS EMBEDDED             Yes or No                                                            The yes/no indicator of whether a file is embedded in another document.

    HASH                                                                                         The MD5 or SHA-1 Hash value or "de-duplication key" assigned to a document. The
                                                                                                 same hash method (MD5 or SHA-1) should be used throughout production.
    CONVERSATION INDEX                                                                           ID used to tie together email threads.
    REDACTED                Yes or Blank                                                         If a document contains a redaction, this field will display 'Yes'.
    TIMEZONE                PST, CST, EST, etc                                                   The time zone the document was processed in. NOTE: This should be the time zone
    PROCESSED                                                                                    where the documents were located at time of collection.
                            D:\NATIVES\ABC000001.xls                                             The full path to a native copy of a document.
    NATIVELINK

                            D:\TEXT\ABC000001.txt                                                The path to the full extracted text of the document. There should be a folder on the
                                                                                                 deliverable, containing a separate text file per document. These text files should be
                                                                                                 named with their corresponding Bates numbers. Note: Emails should include header
    FULLTEXT
                                                                                                 information: author, recipient, cc, bcc, date, subject, etc. If the attachment or e-
                                                                                                 file does not extract any text, then OCR for the document should be provided.

1
 For ESI other than email and e-docs that do not conform to the metadata listed here, such as text messages, Instant Bloomberg, iMessage, Google Chat, Yammer, Slack, etc., the
parties will meet and confer as to the appropriate metadata fields to be produced.
